O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the

                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No:     1:98CR331-2
                      Michael Alonzo Robinson
                                                                            )   USM No: 15291-058
Date of Previous Judgment: 1/7/00                                           )   Tanzania C. Cannon-Eckerle & Claire J. Rauscher
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 120           months is reduced to Time served plus 10 days .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                23                                       Amended Offense Level:             21
Criminal History Category:             VI                                       Criminal History Category:         VI
Previous Guideline Range:              92          to 115        months         Amended Guideline Range:           77            to 96   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   This amended sentence is above the guideline range of imprisonment of 77 to 96 months as the
                     defendant was originally sentenced due to an upward departure to Total Offense Level 24 (100 to
                     125 months) by the Court, and this amended sentence provides punishment comparable to the
                     upward departure originally imposed.


III. ADDITIONAL COMMENTS

It is further ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry
Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.


Except as provided above, all provisions of the judgment dated                      1/7/00             shall remain in effect.
IT IS SO ORDERED.
                                                                                     Signed: April 29, 2008
Order Date:          April 29, 2008



Effective Date:
                       (if different from order date)




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